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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF VIRGINIA
                                      RICHMOND DIVISION



UNITED STATES OF AMERICA,



       V.                                      CRIMINAL CASE NO. 3:16CR0069-4 (JRS)

DONNELL A. BATES,
       Defendant.



             REPORT AND RECOMMENDATION OF THE MAGISTRATE JUDGE


       This matter is before the Court pursuant to Title 28 U.S.C. § 636(b)(1)(B) and (b)(3) upon

the Defendant's request to enter a plea of guiltypursuant to Fed. R. Crim. P. 11 and a written plea

agreement that has been entered into by the United States and the Defendant. The matter was

presented to the Court upon the written consent of the Defendant and counsel for the Defendant to

proceed before a United States Magistrate Judge, said consent including the Defendant's

understanding that he consented not only to having the Magistrate Judge conduct the hearing, but

also to having the Magistrate Judge make necessary findings and accept any guilty plea as may be

entered that could not be withdrawn except for a fair and just reason.

            The Defendant pled guilty to Count One of the Indictment in open court and pursuant to

a Rule 11 inquiry. Upon consideration of the responses and statements made by the Defendant

under oath, on the record, and based upon the written plea agreement and statement of facts

presented, the Court makes the following findings:

       1.        That the Defendant is competent to enter a plea of guilty;

       2.        That the Defendant understands the nature of the charge against him to which his

                 plea is offered;
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